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Reset Form
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
)
Apple Inc. ) Case No: 12cv-00630LHK
leit )
Plaintif{(s), ) APPLICATION FOR
y ) ADMISSION OF ATTORNEY
) PRO HAC VICE
Samsung Electronics Co., LTD., et al. ) (CIVIL LOCAL RULE 11-3)
)
Defendant(s).

L, Anna Bonny Chauvet , an active member in good standing of the bar of
District of Columbia , hereby respectfully apply for admission to practice pro hac vice in the
Northern District of California representing: Apple Inc. in the
above-entitled action. My local co-counsel in this case is Mark D. Selwyn yan

attorney who is a member of the bar of this Court in good standing and who maintains an office
within the State of California.

MY ADDRESS OF RECORD: LOCAL CO-COUNSEL’S ADDRESS OF RECORD:

1875 Pennsylvania Avenue NW 950 Page Mill Road

Washington, DC 20006 Palo Alto, CA 94304

MY TELEPHONE # OF RECORD: LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
(202) 663-6204 (650) 858-6000

MY EMAIL ADDRESS OF RECORD: LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
anna.chauvet@wilmerhale.com mark.selwyn@wilmerhale.com

Iam an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: 977431

A true and correct copy of a certificate of good standing or equivalent official document from said
bar is attached to this application.

T agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

I declare under penalty of perjury that the foregoing is true and correct.

Dated; 9313 Anna Bonny Chauvet
APPLICANT

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of Anna Bonny Chauvet is granted,
subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
designated in the application will constitute notice to the party.

Dated:

UNITED STATES DISTRICT/MAGISTRATE JUDGE

PRO HAC VICE APPLICATION & ORDER

